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                       UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF PENNSYLVANIA

BERNIE CLEMENS,                           :

                Plaintiff                 :    CIVIL ACTION NO. 3:13-2447

                v.                        :
                                                    (JUDGE MANNION)
NEW YORK CENTRAL MUTUAL                   :
FIRE INSURANCE COMPANY,
                                          :
                Defendant
                                          :


                                     ORDER

        Pending before the court is the defendant’s motion for leave to file a sur-

reply brief in opposition to the plaintiff’s petition for attorney’s fees. (Doc.

231).1 Upon review, the defendant’s motion will be granted.

        By way of relevant background, the plaintiff filed a petition for attorney’s

fees, interest and costs on November 20, 2015. (Doc. 215). On December 4,

2015, the defendant filed a brief in opposition to the plaintiff’s petition. (Doc.

222).

        By order dated December 11, 2015, in relation to the plaintiff’s petition

for attorney’s fees, the court directed the plaintiff’s counsel to file “a copy of

the fee agreement entered into with their client for the court’s consideration”,


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      The court notes that, although the plaintiff’s counsel did not give their
concurrence in the motion, (Doc. 231, p. 6, ¶14), neither did they file a brief
opposing the motion.
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as well as “a sworn verification, under penalty of perjury, from each attorney

or non-attorney for whom fees have been requested in this action verifying

that the fees requested are accurate and were for the actual and necessary

services performed in the representation of the plaintiff in this matter”. (Doc.

225).

        On December 21, 2015, one of the plaintiff’s counsel, Marsha Lee

Albright, hand delivered several items to the court for in camera inspection.

Included among these items were the affidavits of five attorneys from the

Pisanchyn Law Firm, the contingent fee agreement entered into between the

plaintiff and the Pisanchyn Law Firm, and two sets of time records - one

covering the plaintiff’s underlying UIM claim and one covering the plaintiff’s

bad faith claim. Although the plaintiff’s counsel submitted these documents

in camera, no assertion of privilege accompanied the documentation.

Moreover, upon review of the documents there does not appear to be any

privilege which can be asserted with respect to the documents.2 The court will



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       The plaintiff had previously represented in his petition for attorney’s
fees that “[t]ime logs have been redacted out of concern for privilege, but not
limited to attorney/client privilege but will be made available immediately for
in camera inspection by the Honorable Court upon request.” (Doc. 215, n. 2).
Further, it was indicated that “[p]laintiffs Fee Agreement has been redacted
out of concern for privilege, but not limited to attorney/client privilege but will
be made available immediately for in camera inspection by the Honorable
Court upon request.” (Doc. 215, n. 3).

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therefore direct that these items be docketed and placed on the record by the

Clerk of Court.

      In its pending motion, the defendant requests time to file a sur-reply

after the court has completed its review of the in camera documents and the

documentation has been received by defendant’s counsel. In order for the

defendant to prepare a more complete response as to the reasonableness of

the request for attorney’s fees, interest and costs, the court will allow the

defendant fourteen (14) days from the date of this order and entry of the

relevant documents on the record to file a sur-reply. The plaintiff’s counsel will

have seven (7) days thereafter to file a response, if they choose to do so.

      NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

      (1)   the Clerk of Court is directed to docket as exhibits in

            support of the plaintiff’s petition for attorney’s fees, interest,

            and costs, those items delivered to the court by the

            plaintiff’s counsel for in camera inspection;

      (2)   the defendant’s motion for leave to file a sur-reply brief in

            opposition to the plaintiff’s petition for attorney’s fees,

            interest and costs, (Doc. 231), is GRANTED;

      (3)   within fourteen (14) days of the date that the in camera

            exhibits are placed on the docket, the defendant shall file its



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                      sur-reply brief; and

           (4)        the plaintiff’s counsel will have seven (7) days from the date

                      of the defendant’s sur-reply to file a response, if they

                      choose to do so.




                                                                        s/ Malachy E. Mannion
                                                                        MALACHY E. MANNION
                                                                        United States District Judge

Date: January 24, 2017
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